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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

MCALLEN DIVISION
JANE DOE, §
Plaintiff §
§
§
Vs. § Civil Action No.: 7:19-C V-00309
§ ‘
EDINBURG CONSOLIDATED §
INDEPENDENT SCHOOL DISTRICT §
Defendant §

NON-PARTY HIDALGO COUNTY CRIMINAL DISTRICT ATTORNEY’S OFFICE
MOTION TO QUASH AND MOTION FOR PROTECTIVE ORDER

NOW COMES THE STATE OF TEXAS BY AND THROUGH THE OFFICE OF
THE HIDALGO COUNTY CRIMINAL DISTRICT ATTORNEY, RICARDO RODRIGUEZ
JR., hereinafter “DA’s Office” or “Movant”, and files this, its Motion to Quash and Motion for
Protective Order from Plaintiff's Notice of Intention to Take Deposition by Written Questions
and Subpoena Duces Tecum, hereinafter “the Subpoena”, that was served on the DA’s Office,
a non-party to this suit, and in support thereof would respectfully show unto the Court the
following:
A. BACKGROUND
On May 28, 2020, Plaintiff served the attached Subpoena on the DA’s Office, seeking
answers of certain questions being propounded to the witness and to bring and produce “A
request for records of: Jane Doe DOB: 11/03/2000 SSN: XXX-XX-5637. We are
requesting: The entire investigative file, including but not limited to incident report(s),
records, files, case notes, field notes, measurements, witness statement(s), photos (color

if available), video and/or audio tapes and any other type documents contained in your
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files and/or offices pertaining to Case # CR-4214-17-G.”See Exhibit “A”. The DA’s
Office is not a party to this suit.
B. OBJECTIONS
The DA’s Office objects to the subpoena as the documents requested for production are
confidential and Plaintiff has not met her burden to establish that these documents are subject
to release under applicable law and/or exceptions to required confidentiality provisions of the
Texas Family Code. Thus, the DA’s Office requests that the Subpoena be quashed, and
requests that this Court enter a protective order for information sought, forbidding its
disclosure or discovery.
C. ARGUMENT & AUTHORITIES
The DA’s Office objects to the subpoena to the extent it exceeds information that require
the disclosure of privileged or other protected matter. See Fed. R. Civ. P. § 45(d)(3). More
specifically, the DA’s Office asks the Court for a protective order because the request seeks the
production of documents which are confidential and protected under the Texas Family Code. See
Tex. Fam. Code § 261.201; Fed. R. Civ. P. 26(c). Texas Family Code § 261.201, states in
pertinent part that .. . the following information is confidential, is not subject to public release ...
and may be disclosed only for purposes consistent with [the Texas Family Code] and applicable
federal or state law or under rules adopted by an investigating agency:
(1) a report of alleged or suspected abuse or neglect made under this
chapter and the identity of the person making the report; and
(2) except as otherwise provided in this section, the files, reports, records,
communications, audiotapes, videotapes, and working papers used or
developed in an investigation under this chapter or in providing services as

a result of an investigation.

Tex. Fam. Code Ann. § 261.201(a)(West).
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This section further states that while information is generally considered confidential, it
also may be released in certain circumstances, including that:

(b) A court may order the disclosure of information that is confidential
under this section if:
(1) a motion has been filed with the court requesting the release of
the information;
(2) a notice of hearing has been served on the investigating agency
and all other interested parties; and
(3) after hearing and an in camera review of the requested
information, the court determines that the disclosure of the
requested information is:
(A) essential to the administration of justice; and
(B) not likely to endanger the life or safety of:
(i) a child who is the subject of the report of alleged
or suspected abuse or neglect;
(ii) a person who makes a report of alleged or
suspected abuse or neglect; or
(iii) any other person who participates in an
investigation of reported abuse or neglect or who
provides care for the child.

and:

(c) In addition to Subsection (b), a court, on its own motion, may order
disclosure of information that is confidential under this section if:
(1) the order is rendered at a hearing for which all parties have
been given notice;
(2) the court finds that disclosure of the information is:
(A) essential to the administration of justice; and
(B) not likely to endanger the life or safety of:
(i) a child who is the subject of the report of alleged
or suspected abuse or neglect;
(ii) a person who makes a report of alleged or
suspected abuse or neglect; or
(iii) any other person who participates in an
investigation of reported abuse or neglect or who
provides care for the child; and
(3) the order is reduced to writing or made on the record in open
court.

Tex. Fam. Code Ann. §§ 261.201(b)-(c)(West).
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In addition to the above-referenced exception, the DA’s Office may release information
that is typically confidential under these provisions to various individuals with a special right of
access, including a parent or guardian who has not been accused of the abuse made the basis of
the investigation, and an attorney and/or other representative who produces authorizations to
access these documents executed by each parent and/or guardian of the child or children. See
Tex. Fam. Code § 261.201(k).

Because of the nature of the underlying incident, documents in possession of the DA’s
Office related to its investigation are subject to the confidentiality provisions of Texas Family
Code § 261.201. Furthermore, the DA’s Office is not aware of any court ordered release of the
information, nor has the requesting party provided the DA’s Office with authorizations from all
parents and guardians permitting the release of these documents. Since there is no evidence that
any exceptions to the confidentiality provisions are applicable to the release of these documents,
the DA’s Office asserts that it is not permitted to release them at this time. Therefore, upon good
cause shown, the DA’s Office requests that the Court issue a protective order forbidding the
disclosure and/or discovery of the information requested.

The DA’s Office asks the Court for a Protective Order to the extent the subpoena is not
appropriate and does not comply with the Federal Rules of Civil Procedure and/or any other
provisions referenced herein.

C. CONCLUSION

The Subpoena seeks the productions of privileged or other protected matters for which

no exception or waiver applies. As a result, pursuant to Rule 45(d)(3), it is mandatory that the

Subpoena be quashed or modified.
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D. PRAYER
WHEREFORE, PREMISES CONSIDERED, THE STATE OF TEXAS BY AND

THROUGH THE HIDALGO COUNTY DISTRICT ATTORNEY’S OFFICE prays that the
Deposition by Written Questions and Subpoena with attached request for records served upon
the Office of the Hidalgo County Criminal District Attorney be quashed, asks the Court to
issue an order of protection by granting the relief requested in this motion, and for such other
and further relief to which they may show themselves to be entitled.

Respectfully Submitted,

Office of Criminal District Attorney

RICARDO RODRIGUEZ, JR.

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MOVANT
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CERTIFICATE OF CONFERENCE (Motion to Quash)

I certify that on June 11, 2020, I attempted to confer with Cornelia Brandfield-Harvey,
but did not receive a response from her at the time of this filing. I presume she opposes this
Motion to Quash. See Federal Rule of Civil Procedure 37 (a)(1).

/s/ Jacqueline Villarreal
Jacqueline Villarreal
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CERTIFICATE OF CONFERENCE (Protective Order)

I certify that on June 11, 2020, I, in good faith attempted to confer with Cornelia
Brandfield-Harvey | attempted to confer with Cornelia Brandfield-Harvey, but did not receive a
response from her at the time of this filing. I presume she opposes the Motion for Protective
Order. See Federal Rule of Civil Procedure 26 (c)(1).

/s/ Jacqueline Villarreal
Jacqueline Villarreal
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CERTIFICATE OF SERVICE

I certify that Non-Party Hidalgo County District Attorney’s Office’s Motion to Quash and
Motion for Protective Order was filed electronically with the Clerk of the Court using the
CM/ECF system, which is intended to deliver notification of the filing to all counsel and parties
of record and which is in compliance with Fed. Rule of Civ. Pro. 5(b). In accordance with the
Federal Rules of Civil Procedure, this motion has been served to the following counsel of record:

Cornelia Brandfield-Harvey
Anthony G. Buzbee

The Buzbee Law Firm

600 Travis. Suite 7300
Houston, Texas 77002

Counsel for Plaintiff Jane Doe

David Campbell

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Counsel for Defendant Edinburg Consolidated Independent School District

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Counsel for Defendant Edinburg Consolidated Independent School District

/s/ Jacqueline Villarreal
Jacqueline Villarreal
